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IN THE UNITED STATES DISTRICT
COURT
FOR THE NORTHERN DISTRICT OF
GEORGIA

Pro Se [Non-Prisoner] Complaint
Form

Enter the full name of the plaintiff in this

action
Glenford Kennard Hyatt

Vv.

Enter below the full name of defendant(s) in
this action. If possible, please list only one
defendant per line.

M&T Bank

~———

Nee ee ee ee ee ee ee ee”

Nee Ne Nee ee ee ee ee ae ee ee ee ee ee ee Se”

FILED IN CLERK’S OFFICE
U.S.D.C. - Atlanta

JAN 14 2021

Civil Action No.

 

(to be assigned by Clerk)

1:21-Cy-0221

If allowed by statute, do you wish to have a trial by jury? Yes No_v

PREVIOUS LAWSUITS

A. Have you begun other lawsuits in state or federal court dealing with the same facts

involved in this action?

Yes No V
Il.

. Name(s) of Judge(s) to whom case was assigned:

. Date of disposition (if concluded):

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If your answer to A is Yes, describe the lawsuit in the space below. If there is more than
one lawsuit, describe the additional lawsuits on another piece of paper using the same
outline.

. Parties to this previous lawsuit:

Plaintiff:

 

Defendant(s):

 

. Court:

 

(If federal court, name the district; if state court, name the county)

. Docket Number:

 

 

. Status of Case:

 

(For example, was the case dismissed? Settled? Appealed? Still Pending?)

. Date lawsuit was filed:

 

 

Do you have any other lawsuits pending in the federal court in Georgia?

Yes No V

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PARTIES

In Item A below, place your name and address in the space provided. Do the same for additional
plaintiffs, if any.

Name of Plaintiff: Glenford Kennard Hyatt 5
Address: 4480 S$ Cobb Drive, Suite H-558, Smyrna, Georgia, 30080

Email: glenh4480@gmail.com

In Item B below, place the full name of the defendant; and his, her, or its address, in the space
provided. Use Item C for additional defendants, if any.

Name of Defendant:

M&T Bank
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Address: P.O Box 1288, Buffalo, New York, 14240 9

 

 

 

 

 

G Additional Defendants (provide the same information for each defendant as listed in
Item B above):
Name: Lakeview Loan Servicing LLC *
Address: 4425 Ponce De Leon Blvd, MS 5-251, Coral Gables, FL, 33146 .
STATEMENT OF CLAIM

State here, as briefly as possible, the facts of your case. Describe how each defendant is
involved. Include also the name(s) of other persons involved, dates, and places. Do not
give any legal arguments or cite any cases or statutes. If you intend to allege a number
of related claims, number and set forth each claim in a separate paragraph. Use as much
space as you need. Attach extra sheets if necessary.

M&T Bank is in violation of the FCRA and the FDCPA due to the fact that
they continue to harass, dishonor, and violate my federally protected
consumer rights. I have sent several affidavits to settle the matter
concerning the alleged mortgage account number 0103560587, as M&T Bank is
the loan servicer for this account and has interest in the property
currently owned by Glenford Kennard Hyatt. It is a fact that on May 14*,
2020, I mailed by UPS Next Day Carrier Letter via Tracking number
128845xX90174013794, an “Affidavit Of Tender Of Payment And
Acknowledgement And Discharge”, a formal settlement to M&T Bank, whereas
M&éT Bank has never responded under penalty of perjury that I owe a debt
and validity of a debt obligation or any actual true bill in commerce
stating any further direct verification of an obligation of debt, by M&T
Bank.

On June 10%, 2020 I mailed by UPS 2™ Day Air Carrier letter via Tracking
Number: 128845xX90792550794, a “Notice to Agent is Notice to Principle, Notice

to Principe is Notice to Agent”, another formal settlement to M&T Bank,
Il.

IV.

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whereas M&T Bank has never responded under penalty of perjury. On July 30*,
2020, I mailed by UPS Next Day Carrier Letter via Tracking Number:
1Z28845xX90168474870, a “Conditional Acceptance for Value for Proof of Claim “,
another formal settlement to M&T Bank whereas M&T Bank has never responded

under penalty of perjury.

STATEMENT OF CLAIM - continued.

On August 26, 2020, I mailed by certified mail: 70192970000200231762, a
“Second Invoice”, another formal settlement to M&T Bank, whereas M&T Bank has
never responded under penalty of perjury. On August 26%, 2020, I mailed by
certified mail: 70192970000200231762, a “Notice of Fault and Opportunity to
Cure and Contest Acceptance”, another formal settlement to M&T Bank whereas
M&T Bank has never responded under penalty of perjury. On October 27*, 2020,
I_mailed by certified mail: 9414811899564910818587, a “Notice of Default And
Res Judicata”, a formal settlement to M&T Bank, whereas M&T Bank has never
responded under penalty of perjury. On November 12**, 2020, I mailed by
certified mail: 9414811899564128112217, a “Affidavit: Certificate of Non
Response and Failure to Contest Acceptance and Agreement”, another formal
settlement to M&T Bank whereas M&T Bank has never responded under penalty of
perjury. On December 5%, 2020, I mailed by certified mail:
9402811899564294714029, a “Affidavit of Fact”, another formal settlement to
M&T Bank, whereas M&T Bank has never responded under penalty of perjury. M&T
Bank has caused willful injury, mental anguish, damage of my credit and they
have also defamed my character. I have been a victim of M&T since May of 2020

and have exhaustively attempted to reach a formal settlement with them.

RELIEF.

State briefly and exactly what you want this court to do for you.
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I am seeking Monetary Relief in the amount of $2,151,040.00 for the
violations under FDCPA & FCRA, the invoice & fees associated with said
invoice from the fee schedule sent to M&T Bank 4 times, and legal
consultation fees needed to prepare this attempt of a formal settlement.
Also, the removal of all negative information reported to any/all credit

bureaus concerning from M&T Bank

Signed this _/3 __ day of January, 2021.

 

 
